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  IT IS ORDERED as set forth below:



  Date: August 3, 2020
                                                           _____________________________________
                                                                         Paul Baisier
                                                                 U.S. Bankruptcy Court Judge

  _______________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                :               CHAPTER 7
                                                      :
DUWAN PITTMAN,                                        :               CASE NO. 18-68220-PMB
                                                      :
         Debtor.                                      :
                                                      :
 ORDER APPROVING SETTLEMENT BETWEEN TRUSTEE, METRO CITY BANK,
   AND CHICAGO TITLE INSURANCE COMPANY UNDER RULE 9019 OF THE
            FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On June 24, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Duwan Pittman (“Debtor”), filed his Motion for Order

Authorizing Settlement between Trustee, Metro City Bank, and Chicago Title Insurance

Company under Rule 9019 of the Federal Rules of Bankruptcy Procedure [Doc. No. 60] (the

“Motion”), seeking an order approving a settlement agreement (the “Settlement Agreement”)

between Trustee, Metro City Bank (“Metro City”), and Chicago Title Insurance Company

(“CTIC”, collectively, the “Parties”) related to certain improved real property with a common

address of 5521 Marbut Road, Lithonia, DeKalb County, Georgia 30058 (the “Property”) and

Metro City’s alleged security interest in the same.       More specifically, under the terms of the


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Settlement Agreement, inter alia,1 within ten (10) days of the Settlement Approval Order2

becoming final, Metro City’s title insurer shall pay to Trustee $42,500.00 (the “Settlement

Funds”) in one lump sum payment by delivering an official check to Trustee in the amount of

$42,500.00 made payable as follows: “S. Gregory Hays, Trustee (Pittman).” In exchange, upon

the Settlement Approval Order becoming a final order, the Security Deed shall be deemed

properly perfected as of its recording, and Metro City shall be entitled to re-record a copy of any

document that it deems necessary to properly perfect its first priority security interest in the

Property. In addition, within ten (10) business days of the later of: (a) the Settlement Approval

Order becoming final, or (b) Trustee’s closing a sale of the Property, Trustee shall pay to Metro

City $59,039.23 from the proceeds of the sale of the Property as full and final payment of its first

position security interest in the Property. Finally, the Parties grant each other broad and general

releases. The complete terms of the Settlement Agreement are set forth in Exhibit “A” to the

Motion.

        On June 26, 2020, Trustee filed Notice of Pleading, Deadline to Object, and for Hearing

[Doc. No. 63] (the “Notice”) regarding the Motion, in accordance with General Order No. 24-

2018. Counsel for Trustee certifies that he served the Notice on all requisite parties in interest on

June 26, 2020. [Doc. Nos. 64 and 67]. The Settlement Agreement was scheduled for a hearing

on August 10, 2020.

        The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the


1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
      Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Motion.


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objection deadline provided in the Notice.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

         ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein. It is further

         ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement Agreement. It is further

         ORDERED that Trustee is authorized to make the $59,039.23 Payment to Metro City in

accordance with Section 2.4 of the Settlement Agreement. It is further

         ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of entities to be served:

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